Order filed, September 02, 2016.




                                       In The

                     Fourteenth Court of Appeals
                                   ____________

                               NO. 14-16-00668-CV
                                 ____________

            IN THE INTEREST OF J.J.R.P., A CHILD, Appellant



                    On Appeal from the 309th District Court
                             Harris County, Texas
                      Trial Court Cause No. 2010-52276


                                      ORDER

      The reporter’s record in this case was due August 18, 2016. See Tex. R.
App. P. 35.1. The court has not received a request to extend time for filing the
record. The record has not been filed with the court. Because the reporter’s record
has not been filed timely, we issue the following order.

      We order Delores Johnson, the official court reporter, to file the record in
this appeal within 30 days of the date of this order.

                                   PER CURIAM
